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 7                           UNITED STATES DISTRICT COURT
 8                         SOUTHERN DISTRICT OF CALIFORNIA
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10     Ms. L.; et al.,                                    Case No.: 18cv0428 DMS (AHG)
11                          Petitioners-Plaintiffs,
                                                          ORDER FOLLOWING STATUS
12     v.                                                 CONFERENCE
13     U.S Immigration and Customs
       Enforcement (“ICE”); et al.,
14
                         Respondents-Defendants.
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16           This case came on for status conference to follow up on the Court’s June 10, 2025
17    Order granting Plaintiffs’ motion to enforce the settlement agreement. After hearing from
18    counsel and being advised as to the status, IT IS HEREBY ORDERED:
19    1.     Defendants shall provide a term sheet to Acacia concerning renewal or reissue of the
20    LASRF task order on or before 5:00 p.m. Pacific Time on July 1, 2025.
21    2.     Consistent with the Court’s prior orders, and given the Court’s “power to award such
22    relief and issue such judgments as the Court deems necessary for enforcement of the
23    Settlement Agreement[,]” (Settlement Agreement at 43, ECF No. 721-2), the Court
24    continues its order requiring the Government to inform Plaintiffs’ counsel within 24 hours
25    if it detains a member of the Ms. L. Class or other QAFMs defined in the Settlement
26    Agreement. The information provided to Plaintiffs’ counsel shall include, but is not limited
27    to, the identity of the detained person, his or her A-file number, and place of detention.
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 1    3.    Pending resolution of Defendants’ anticipated Rule 60(b) motion seeking relief from
 2    the Court’s June 10, 2025 Order, Defendants shall not remove any additional Class
 3    members or QAFMs defined in the Settlement Agreement.
 4    4.    The briefing schedule on the parties’ anticipated motions is as follows:
 5          (a)    On Defendants’ pending Rule 60(b) motion re: Seneca (filed on June 10,
 6    2025), Plaintiffs shall file their opposition on or before June 30, 2025, and Defendants
 7    shall file their reply on or before July 8, 2025;
 8          (b)    On Plaintiffs’ motion to enforce the Settlement Agreement re: Seneca,
 9    Plaintiffs shall file their motion on or before June 30, 2025, Defendants shall file their
10    opposition on or before July 8, 2025, and Plaintiffs shall file their reply on or before July
11    10, 2025;
12          (c)    On Defendants’ Rule 60(b) motion re: Acacia, Defendants shall file their
13    motion on or before June 30, 2025, Plaintiffs shall file their opposition on or before July
14    8, 2025, and Defendants shall file their reply on or before July 15, 2025. In this motion,
15    Defendants shall set out what steps need to be taken to enter or reenter into a task order
16    with Acacia consistent with the Court’s June 10, 2025 Order. Defendants shall also set out
17    their position on whether the Court has authority to extend the term of the Settlement
18    Agreement given Defendants’ decisions to cancel their contracts with the previous service
19    providers (Acacia and Seneca), the Court’s finding that Defendants are in breach of the
20    Settlement Agreement, and Defendants’ delay in curing that breach and complying with
21    the Court’s June 10, 2025 Order;
22          (d)    On Plaintiffs’ motion to enforce re: Independent Adjudicator and IOM
23    Services, Plaintiffs shall file their motion on or before June 30, 2025, Defendants shall file
24    ///
25    ///
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 1    their opposition on or before July 11, 2025, and Plaintiffs shall file their reply on or before
 2    July 15, 2025.
 3    All of these motions shall be set for hearing on July 18, 2025, at 1:30 p.m. Pacific Time.
 4          IT IS SO ORDERED.
 5    Dated: June 27, 2025
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